                       Case 3:24-cv-02890-SK          Document 17   Filed 07/15/24   Page 1 of 20


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                   9
                                                  UNITED STATES DISTRICT COURT
               10                               NORTHERN DISTRICT OF CALIFORNIA
                                                     SAN FRANCISCO DIVISION
               11

               12      ELI SILVA, on behalf of himself
                                                     )          Case No. 3:24-cv-02890-SK
                       and all others similarly situated,
                                                     )
               13                                    )          DEFENDANT WHALECO INC.’S
                                         Plaintiff,  )          NOTICE OF MOTION AND MOTION TO
               14                                    )          COMPEL ARBITRATION
                             v.                      )
               15                                    )
                       WHALECO, INC., d/b/a TEMU,    )          Judge: Sallie Kim
               16                                    )          Date: September 16, 2024
                                         Defendant.  )          Time: 9:30 am
               17                                    )          Courtroom: C
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                                                                              DEFENDANT’S NOTICE OF MOTION AND
ATTORNEYS AT LAW
  LOS ANGELES
                                                                                 MOTION TO COMPEL ARBITRATION
                                                                                           Case No. 3:24-cv-02890-SK
                       Case 3:24-cv-02890-SK                   Document 17                  Filed 07/15/24               Page 2 of 20


                   1                                                   TABLE OF CONTENTS

                   2   I.     INTRODUCTION ............................................................................................................. 1

                   3   II.    FACTUAL BACKGROUND ............................................................................................ 2

                   4          A.        Defendant Whaleco Inc.......................................................................................... 2

                   5          B.        Plaintiff Assented to Temu’s Terms ...................................................................... 2

                   6          C.        The Terms Broadly Require That Disputes Be Arbitrated .................................... 4

                   7          D.        Any Challenges to the Arbitration Agreement Are Delegated to the
                                        Arbitrator................................................................................................................ 6
                   8
                              E.        Plaintiff Disregarded the Terms and Filed a Class Action in This
                   9                    Court ...................................................................................................................... 6

               10      III.   ARGUMENT ..................................................................................................................... 6

               11             A.        Legal Standard ....................................................................................................... 7

               12             B.        Plaintiff Assented to the Terms.............................................................................. 8

               13             C.        The Court Must Stay This Case While Arbitration Proceeds .............................. 12

               14             D.        The Court Must Delegate to the Arbitrator Any Disputes Over the
                                        Scope or Enforceability of the Arbitration Agreement ........................................ 12
               15
                              E.        Plaintiff Is Not Entitled to Seek Class Relief....................................................... 13
               16
                       IV.    CONCLUSION ................................................................................................................ 14
               17

               18

               19

               20

               21

               22

               23

               24

               25

               26

               27

               28
                                                                                                             DEFENDANT’S NOTICE OF MOTION AND
ATTORNEYS AT LAW
  LOS ANGELES                                                                                i                  MOTION TO COMPEL ARBITRATION
                                                                                                                          Case No. 3:24-cv-02890-SK
                       Case 3:24-cv-02890-SK                      Document 17               Filed 07/15/24             Page 3 of 20


                   1                                                  TABLE OF AUTHORITIES
                   2                                                                  CASES
                   3   AT&T Mobility LLC v. Concepcion,
                   4     563 U.S. 333 (2011) ............................................................................................................ 7, 13

                   5   Berman v. Freedom Fin. Network,
                          LLC, 30 F.4th 849 (9th Cir. 2022) ............................................................................................ 8
                   6
                       Brennan v. Opus Bank,
                   7      796 F.3d 1125 (9th Cir. 2015) ............................................................................................ 8, 13
                   8   Carter v. Rent-A-Center, Inc.,
                          718 F. App’x 502 (9th Cir. 2017) ........................................................................................... 13
                   9

               10      Chiron Corp. v. Ortho Diagnostic Sys., Inc.,
                          207 F.3d 1126 (9th Cir. 2000) .................................................................................................. 7
               11
                       Fli-Lo Falcon, LLC v. Amazon.com, Inc.,
               12          97 F.4th 1190 (9th Cir. 2024) ............................................................................................. 7, 12
               13      Flores-Mendez v. Zoosk, Inc.,
                          No. 20-CV-4929, 2022 WL 2967237 (N.D. Cal. July 27, 2022)............................................ 14
               14

               15      Ghazizadeh v. Coursera, Inc.,
                          No. 23-CV-5646, 2024 WL 3091968 (N.D. Cal. June 20, 2024) ....................................... 7, 11
               16
                       Henry Schein, Inc. v. Archer & White Sales, Inc.,
               17         586 U.S. 63 (2019) .............................................................................................................. 7, 12

               18      Herrera v. Cathay Pac. Airways Ltd.,
                          104 F.4th 702 (9th Cir. 2024) ............................................................................................. 8, 12
               19
                       In re Tesla Advanced Driver Assistance Sys. Litig.,
               20
                           No. 22-CV-05240-HSG, 2023 WL 6391477 (N.D. Cal. Sept. 30, 2023) ............................... 12
               21
                       Keebaugh v. Warner Bros. Ent. Inc.,
               22         100 F.4th 1005 (9th Cir. 2024) ........................................................................................ passim

               23      Laatz v. Zazzle, Inc.,
                          No. 22-CV-04844-BLF, 2024 WL 377970 (N.D. Cal. Jan. 9, 2024) ..................................... 11
               24
                       Mohamed v. Uber Techs., Inc.,
               25        848 F.3d 1201 (9th Cir. 2016) ............................................................................................ 7, 13
               26
                       Moyer v. Chegg, Inc.,
               27        No. 22-CV-09123-JSW, 2023 WL 4771181 (N.D. Cal. July 25, 2023) ................................. 12

               28
                                                                                                            DEFENDANT’S NOTICE OF MOTION AND
ATTORNEYS AT LAW
  LOS ANGELES                                                                               ii                 MOTION TO COMPEL ARBITRATION
                                                                                                                         Case No. 3:24-cv-02890-SK
                       Case 3:24-cv-02890-SK                         Document 17                 Filed 07/15/24               Page 4 of 20


                   1   Oberstein v. Live Nation Ent., Inc.,
                          60 F.4th 505 (9th Cir. 2023) ............................................................................................ passim
                   2
                       Peter v. Doordash, Inc.,
                   3
                          445 F. Supp. 3d 580 (N.D. Cal. 2020) .................................................................................... 12
                   4
                       PYNQ Logistics Servs., Inc. v. FedEx Ground Packaging Sys., Inc.,
                   5     No. 23-CV-05881-SK, 2024 WL 2031622 (N.D. Cal. May 6, 2024) (Kim, J.) ..................... 12

                   6   Roblox Corp. v. WowWee Grp. Ltd.,
                          No. 22-CV-04476-SI, 2023 WL 4108191 (N.D. Cal. June 20, 2023) .................................... 13
                   7
                       Shearson/Am. Express, Inc. v. McMahon,
                   8      482 U.S. 220 (1987) .................................................................................................................. 7
                   9
                       Smith v. Spizzirri,
               10         144 S. Ct. 1173 (2024) .................................................................................................... 7, 8, 12

               11      Smith v. Vmware, Inc.,
                          No. 15-CV-03750-TEH, 2016 WL 54120 (N.D. Cal. Jan. 5, 2016) ....................................... 13
               12
                       Swift v. Zynga Game Network, Inc.,
               13         805 F. Supp. 2d 904 (N.D. Cal. 2011) .................................................................................... 12
               14
                                                                                       STATUTES
               15
                       9 U.S.C. § 1 et seq........................................................................................................................... 7
               16
                       9 U.S.C. § 2 ..................................................................................................................................... 7
               17

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                                                                                                                  DEFENDANT’S NOTICE OF MOTION AND
ATTORNEYS AT LAW
  LOS ANGELES                                                                                    iii                 MOTION TO COMPEL ARBITRATION
                                                                                                                               Case No. 3:24-cv-02890-SK
                       Case 3:24-cv-02890-SK           Document 17        Filed 07/15/24       Page 5 of 20


                   1                                NOTICE OF MOTION AND MOTION

                   2                                    TO COMPEL ARBITRATION

                   3          PLEASE TAKE NOTICE that pursuant to the Federal Arbitration Act, 9 U.S.C. § 4,

                   4   Defendant Whaleco Inc. (“Whaleco”), hereby moves this Court for an order compelling Plaintiff

                   5   Eli Silva (“Plaintiff”) to arbitrate his claims and staying this action pending the conclusion of

                   6   arbitral proceedings pursuant to 9 U.S.C. § 3, on the ground that the Federal Arbitration Act, 9

                   7   U.S.C. § 4, requires Plaintiff to pursue his claims in accordance with his arbitration agreement.

                   8          This motion is supported by the Memorandum of Points and Authorities, Declaration of

                   9   Michael Trinh, Exhibit A thereto, and the [Proposed] Order filed concurrently herewith.

               10             Pursuant to the Court’s order, Plaintiff shall file an opposition within 30 days and Whaleco

               11      shall file any reply within 21 days. Joint Stipulation and Order Setting Briefing Schedule and

               12      Continuing Case Management Conference, ECF No. 16 (June 24, 2024).

               13                                              RELIEF SOUGHT

               14             Whaleco seeks an order (i) compelling Plaintiff to arbitrate his claims on an individual

               15      basis, and (ii) staying the case pending resolution of Plaintiff’s claims in arbitration.

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                                                                                      DEFENDANT’S NOTICE OF MOTION AND
ATTORNEYS AT LAW
  LOS ANGELES                                                              1             MOTION TO COMPEL ARBITRATION
                                                                                                   Case No. 3:24-cv-02890-SK
                       Case 3:24-cv-02890-SK           Document 17        Filed 07/15/24       Page 6 of 20


                   1   I.     INTRODUCTION

                   2          Before Plaintiff Eli Silva made a purchase on Defendant Whaleco Inc.’s (“Whaleco”)

                   3   website, Temu.com, Whaleco (doing business as “Temu”) clearly informed him—with a

                   4   conspicuous, bolded hyperlink—that by continuing to register for a Temu account, he agreed to

                   5   Temu’s Terms of Use (the “Terms”). Plaintiff then affirmatively assented to the Terms by clicking

                   6   the following “Register” button, immediately above the hyperlink to the Terms:

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               11      These Terms included an Arbitration Agreement that mandates arbitration of any dispute relating
               12      to Plaintiff’s use of Temu’s website and mobile application and bars him from pursuing claims
               13      as a putative class action.
               14             Plaintiff disregarded the arbitration requirement and class action waiver of the Terms he
               15      agreed to with Whaleco and filed this putative class action in this forum. Binding precedent,
               16      including two recent decisions in Keebaugh v. Warner Bros. Entertainment Inc., 100 F.4th 1005
               17      (9th Cir. 2024) and Oberstein v. Live Nation Entertainment, Inc., 60 F.4th 505 (9th Cir. 2023),
               18      compel arbitration of Plaintiff’s claims. These precedents focus on two factors when enforcing
               19      “sign-in wrap” agreements like the one on Temu’s website: (1) conspicuous terms and (2)
               20      affirmative assent by the counterparty. As noted above and detailed below, both are
               21      unambiguously present here.
               22             Plaintiff’s claims also lack merit, and Temu will prove so in arbitration. But Plaintiff cannot
               23      disregard the parties’ agreement to engage in a streamlined and cost-efficient arbitration process
               24      designed to resolve these claims expeditiously. Accordingly, this Court should (i) compel Plaintiff
               25      to arbitrate his claims on an individual basis, and (ii) stay the case pending resolution of Plaintiff’s
               26      claims in arbitration.
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                                                                                       DEFENDANT’S NOTICE OF MOTION AND
ATTORNEYS AT LAW
  LOS ANGELES                                                              1              MOTION TO COMPEL ARBITRATION
                                                                                                    Case No. 3:24-cv-02890-SK
                       Case 3:24-cv-02890-SK          Document 17        Filed 07/15/24      Page 7 of 20


                   1   II.    FACTUAL BACKGROUND

                   2          A.      Defendant Whaleco Inc.

                   3          Whaleco is an e-commerce company founded in Boston, Massachusetts in 2022 that

                   4   connects consumers with sellers, manufacturers, and brands around the world through its website

                   5   and mobile application, Temu. Temu as a platform is committed to offering affordable, quality

                   6   products to its consumers.

                   7          B.      Plaintiff Assented to Temu’s Terms

                   8          Before making purchases on Temu’s website or mobile application, each user (including

                   9   Plaintiff) must first affirmatively accept Temu’s Terms. Trinh Decl. ¶ 2.1 Specifically, as part of

               10      Plaintiff’s registration process, and before Plaintiff could buy any products, Plaintiff was shown

               11      two registration prompts (the “Registration Prompt(s)”). The first (shown in Figure 1 below)

               12      included (i) a field to register for an account by entering an email or a phone number, along with

               13      a corresponding “Continue” button to affirm assent; and (ii) alternative buttons allowing Plaintiff

               14      to “Continue” by instead registering via his existing Google, Facebook, Apple, or X (Twitter)

               15      account. Id. ¶ 3. Immediately below these registration options was a notice stating: “By continuing,

               16      you agree to our Terms of Use[.]” Id. The words “Terms of Use” were in bold, conspicuous text,

               17      in a font size similar to other text, on an uncluttered white-background screen. See infra Fig. 1.

               18      The entire first Registration Prompt was displayed clearly on one screen; consequently, Plaintiff

               19      did not need to scroll to see any part of it, including the link to the Terms. Id. ¶ 4. Upon clicking

               20      the hyperlink to the Terms, the Terms would appear in a new browser window. Id. ¶ 5.

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                         Unless otherwise indicated, all internal citations and quotations are omitted, and all emphasis is
               28      added. Citations to “Ex. _” refer to the exhibits attached to the Declaration of Michael Trinh
                       (“Trinh Decl.”).
                                                                                     DEFENDANT’S NOTICE OF MOTION AND
ATTORNEYS AT LAW
  LOS ANGELES                                                             2             MOTION TO COMPEL ARBITRATION
                                                                                                  Case No. 3:24-cv-02890-SK
                       Case 3:24-cv-02890-SK          Document 17          Filed 07/15/24       Page 8 of 20


                   1                                       First Registration Prompt (Fig. 1)

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               17             Plaintiff registered an account on Temu by entering his email address and clicking the

               18      “Continue” button, thereby agreeing to the Terms. Id. ¶¶ 6, 11. After that, a second notice relating

               19      to his consent to Temu’s “Terms of Use” was displayed on the second Registration Prompt—again

               20      in conspicuous bold text, in a font size similar to other text, on an uncluttered white-background

               21      screen, immediately below the orange “Register” button. Id., see infra Fig. 2. As shown below, in

               22      Figure 2, the text stated, “By clicking Register, you agree to our Terms of Use[.]” Id. The

               23      “Register” button on this screen and the text immediately under it are what is depicted above in

               24      the Introduction. See supra at 1.

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                                                                                        DEFENDANT’S NOTICE OF MOTION AND
ATTORNEYS AT LAW
  LOS ANGELES                                                               3              MOTION TO COMPEL ARBITRATION
                                                                                                     Case No. 3:24-cv-02890-SK
                       Case 3:24-cv-02890-SK          Document 17         Filed 07/15/24       Page 9 of 20


                   1                                     Second Registration Prompt (Fig. 2)

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               17              Plaintiff created a password for his Temu account and clicked the “Register” button
               18      immediately above the Terms link—thereby affirming his assent to the Terms a second time. Id.
               19      ¶¶ 7, 11.2
               20              As is the case for all other users, only after Plaintiff assented to Temu’s Terms was he able
               21      to buy products, follow brands, leave product reviews, and receive notifications—among other
               22      methods of interacting with Temu. Id. ¶ 10.
               23              C.     The Terms Broadly Require That Disputes Be Arbitrated
               24              The Terms in effect in February 2024, when Plaintiff registered for his account and
               25
                       2
               26        Though Whaleco does not rely on the following facts for purposes of confirming Plaintiff’s assent
                       to the Terms, Whaleco nevertheless notes two additional points: First, after Plaintiff assented to
               27      the Terms, the Terms continued to be available to Plaintiff as a hyperlink in the footer of Temu’s
                       website and within the menu of Temu’s mobile application. Id. ¶ 8. Second, Plaintiff was required
               28      to assent to the Terms each time were he to input his credentials to log back in to Temu’s website
                       or mobile application. Id. ¶ 9.
                                                                                      DEFENDANT’S NOTICE OF MOTION AND
ATTORNEYS AT LAW
  LOS ANGELES                                                              4             MOTION TO COMPEL ARBITRATION
                                                                                                   Case No. 3:24-cv-02890-SK
                       Case 3:24-cv-02890-SK          Document 17        Filed 07/15/24       Page 10 of 20


                   1   allegedly made the purchases at issue, made clear that disputes arising from the use of Temu’s

                   2   services are subject to arbitration. 3 The Terms conspicuously highlight and emphasize the

                   3   Arbitration Agreement, noting right at the top of the Terms, in bold text and all-capital letters:

                   4             SECTION 19 CONTAINS, AMONG OTHER THINGS, AN AGREEMENT
                                 TO ARBITRATE WHICH REQUIRES, WITH LIMITED EXCEPTIONS,
                   5
                                 THAT ALL DISPUTES BETWEEN YOU AND [WHALECO] BE
                   6             RESOLVED BY BINDING AND FINAL ARBITRATION.

                   7   Ex. A § 1.5 (emphasis in original). This was followed by statements, also in all-capital letters,
                   8   that the user and Whaleco agree to “WAIVE[] OUR RIGHT TO PARTICIPATE IN A CLASS
                   9   ACTION LAWSUIT OR CLASS-WIDE ARBITRATION” and that “EACH OF US IS
               10      WAIVING OUR RIGHT TO PURSUE DISPUTES OR CLAIMS AND SEEK RELIEF IN A
               11      COURT OF LAW AND TO HAVE A JURY TRIAL.” Id.
               12                The notice at the top of the Terms directed Temu users to Section 19, titled
               13      “ARBITRATION AGREEMENT,” which in turn states:
               14                PLEASE READ THIS SECTION 19 (“ARBITRATION AGREEMENT”)
               15                CAREFULLY. PLEASE BE AWARE THAT THIS SECTION CONTAINS
                                 PROVISIONS GOVERNING HOW DISPUTES BETWEEN YOU AND
               16                [WHALECO] WILL BE RESOLVED. AMONG OTHER THINGS, THIS
                                 SECTION 19 INCLUDES AN AGREEMENT TO ARBITRATE, WHICH
               17                REQUIRES, WITH LIMITED EXCEPTIONS, THAT ALL DISPUTES
                                 BETWEEN YOU AND [WHALECO] BE RESOLVED BY BINDING AND
               18                FINAL ARBITRATION. THIS SECTION 19 ALSO CONTAINS A CLASS
               19                ACTION AND JURY TRIAL WAIVER.

               20      Id. § 19 (emphasis in original). Section 19 further states that “any dispute, claim, or disagreement

               21      arising out of or relating in any way to your access to or use of the Services . . . any products sold

               22      or distributed through the Services, or the Terms . . . will be resolved by binding arbitration[.]” Id.

               23      § 19.1. Users may, however, file claims in small claims court (id. § 19.1), though Plaintiff did not

               24      do so.4

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                       3
                         Temu’s current Terms do not differ in relevant part from the Terms in effect in February 2024.
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                         Before arbitration, the complainant must initiate an “Informal Dispute Resolution,” including a
               27      personal “meet and confer . . . in a good faith effort to resolve informally any Dispute covered by
                       this Arbitration Agreement[.]” Ex. A § 19.2. While Plaintiff alleges he “provided proper notice”
               28      to Temu in advance of filing this lawsuit (Compl. ¶ 85), Temu never received any such notice.
                       Trinh Decl. ¶ 13.
                                                                                      DEFENDANT’S NOTICE OF MOTION AND
ATTORNEYS AT LAW
  LOS ANGELES                                                              5             MOTION TO COMPEL ARBITRATION
                                                                                                   Case No. 3:24-cv-02890-SK
                       Case 3:24-cv-02890-SK         Document 17         Filed 07/15/24     Page 11 of 20


                   1          The Terms further provide, again in bold and all capital letters, that claims may be brought

                   2   “ONLY ON AN INDIVIDUAL BASIS AND NOT ON A CLASS, REPRESENTATIVE, OR

                   3   COLLECTIVE BASIS[.]” Id. § 19.4 (emphasis in original). Users are permitted to opt out of the

                   4   Arbitration Agreement by sending written notice within 30 days of their agreement to the Terms.

                   5   Id. § 19.10. Plaintiff did not opt out of the Arbitration Agreement. Trinh Decl. ¶ 13.

                   6          D.      Any Challenges to the Arbitration Agreement Are Delegated to the

                   7                  Arbitrator

                   8          The Terms include a delegation clause that clearly and unmistakably delegates exclusively

                   9   to the arbitrator any disputes over the scope or enforceability of the arbitration requirement.

               10      Specifically, Section 19.7 of the Terms states:

               11             The arbitrator shall have exclusive authority to resolve any Dispute, including,
                              without limitation, disputes arising out of or related to the interpretation or
               12             application of the Arbitration Agreement, including the enforceability, revocability,
                              scope, or validity of the Arbitration Agreement or any portion of the Arbitration
               13             Agreement . . . .
               14      Ex. A § 19.7. Accordingly, even if Plaintiff has a valid basis to challenge the Arbitration

               15      Agreement (which he does not), any such challenge must be resolved by the arbitrator. None of

               16      the limited exceptions to this delegation provision apply here.

               17             E.      Plaintiff Disregarded the Terms and Filed a Class Action in This Court

               18             Rather than file a demand in arbitration, Plaintiff filed this putative class action Complaint

               19      against Whaleco on May 13, 2024, asserting various false advertising claims on behalf of a

               20      putative nationwide class of Temu users. ECF No. 1 (the “Complaint” or “Compl.”) ¶¶ 8, 10, 74–

               21      102. Specifically, Plaintiff alleges that he purchased two “electric massager guns” on the Temu

               22      website for $6.29 each. He does not allege that the massager guns failed to perform as he expected

               23      them to or that they are worth less than the $6.29 he paid for each of them. He is suing, instead,

               24      because he alleges that Temu did not previously sell the massager guns for a higher price and that

               25      he would not have purchased the massager guns had he known this. Id. ¶¶ 46–56.

               26      III.   ARGUMENT

               27             Controlling precedents dictate the outcome of each aspect of this motion. The Ninth

               28      Circuit’s recent decisions in Keebaugh and Oberstein compel a finding that Plaintiff formed a
                                                                                    DEFENDANT’S NOTICE OF MOTION AND
ATTORNEYS AT LAW
  LOS ANGELES                                                             6            MOTION TO COMPEL ARBITRATION
                                                                                                 Case No. 3:24-cv-02890-SK
                       Case 3:24-cv-02890-SK          Document 17        Filed 07/15/24      Page 12 of 20


                   1   contract with Temu mandating arbitration of his claims. Any disputes over the scope or

                   2   enforceability of the arbitration requirement must be decided by the arbitrator because the Terms

                   3   contain a clear delegation provision, which the Supreme Court and the Ninth Circuit have held is

                   4   enforceable. When compelling Plaintiff to arbitration, the Court must stay this case while the

                   5   arbitration proceeds, consistent with the Supreme Court’s recent decision in Smith v. Spizzirri, 144

                   6   S. Ct. 1173, 1178 (2024).

                   7          A.      Legal Standard

                   8          The Terms provide that the Federal Arbitration Act (the “FAA”), 9 U.S.C. § 1 et seq., will

                   9   govern the interpretation and enforcement of the Arbitration Agreement. Ex. A § 19.5. “[T]he FAA

               10      was designed to promote arbitration,” AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 345

               11      (2011), and requires that courts “rigorously enforce agreements to arbitrate,” Shearson/Am.

               12      Express, Inc. v. McMahon, 482 U.S. 220, 226 (1987). When a party seeks to compel arbitration,

               13      courts consider nothing more than “whether: (1) a valid agreement to arbitrate exists between the

               14      parties and (2) the scope of the agreement encompasses the claims.” Fli-Lo Falcon, LLC v.

               15      Amazon.com, Inc., 97 F.4th 1190, 1194 (9th Cir. 2024); Ghazizadeh v. Coursera, Inc., No. 23-CV-

               16      5646, 2024 WL 3091968, at *2 (N.D. Cal. June 20, 2024) (similar). “If an agreement exists, the

               17      FAA leaves no place for the exercise of discretion by a district court, but instead mandates that it

               18      shall direct the parties to proceed to arbitration.” Fli-Lo Falcon, 97 F.4th at 1193–94; see also 9

               19      U.S.C. § 2 (arbitration agreements “shall be valid, irrevocable, and enforceable, save upon such

               20      grounds that exist at law or in equity for the revocation of any contract”).

               21             Because of this strong policy supporting arbitration agreements, “any doubts concerning

               22      the scope of arbitrable issues should be resolved in favor of arbitration, whether the problem at

               23      hand is the construction of the contract language itself or an allegation of waiver, delay, or a like

               24      defense to arbitrability.” Chiron Corp. v. Ortho Diagnostic Sys., Inc., 207 F.3d 1126, 1131 (9th

               25      Cir. 2000). “When the parties’ contract delegates the arbitrability question to an arbitrator,” as the

               26      parties’ agreement here does, “a court may not override the contract.” Henry Schein, Inc. v. Archer

               27      & White Sales, Inc., 586 U.S. 63, 68 (2019); see also, e.g., Mohamed v. Uber Techs., Inc., 848

               28      F.3d 1201, 1208–09 (9th Cir. 2016) (holding that clear and unmistakable delegation clauses must
                                                                                     DEFENDANT’S NOTICE OF MOTION AND
ATTORNEYS AT LAW
  LOS ANGELES                                                             7             MOTION TO COMPEL ARBITRATION
                                                                                                  Case No. 3:24-cv-02890-SK
                       Case 3:24-cv-02890-SK          Document 17       Filed 07/15/24      Page 13 of 20


                   1   be enforced); Brennan v. Opus Bank, 796 F.3d 1125, 1132 (9th Cir. 2015) (same).

                   2             “When a district court finds that a lawsuit involves an arbitrable dispute, and a party

                   3   requests a stay pending arbitration, § 3 of the FAA compels the court to stay the proceeding.”

                   4   Smith, 144 S. Ct. at 1178; Herrera v. Cathay Pac. Airways Ltd., 104 F.4th 702, 711 (9th Cir. 2024)

                   5   (same).

                   6             B.     Plaintiff Assented to the Terms

                   7             Just a few months ago, in Keebaugh, the Ninth Circuit examined a sign-up screen similar

                   8   to Temu’s and found the notice of terms to be sufficiently conspicuous to have formed a contract

                   9   between the defendant and its users. Keebaugh, 100 F.4th at 1019–21. As the Ninth Circuit recently

               10      reiterated, an online agreement is enforceable so long as “(1) the website provides reasonably

               11      conspicuous notice of the terms to which the consumer will be bound; and (2) the consumer takes

               12      some action, such as clicking a button or checking a box, that unambiguously manifests his or her

               13      assent to those terms.” Id. at 1014 (quoting Berman v. Freedom Fin. Network, LLC, 30 F.4th 849,

               14      856 (9th Cir. 2022)). To satisfy the first prong, the terms must be presented “in a font size and

               15      format such that the court can fairly assume that a reasonably prudent Internet user would have

               16      seen it.” Oberstein, 60 F.4th at 515. For the second prong, “[a] user’s click of a button can be

               17      construed as an unambiguous manifestation of assent only if the user is explicitly advised that the

               18      act of clicking will constitute assent to the terms and conditions of an agreement.” Id.

               19                Temu’s Registration Prompts satisfy both prongs. First, Temu’s Registration Prompts

               20      presented the Terms to Plaintiff through a conspicuous hyperlink, and in an uncluttered format,

               21      which was immediately visible on a single screen. There can be no dispute that a reasonably

               22      prudent Internet user would have seen it. Second, Temu conspicuously advised Plaintiff—twice—

               23      that by continuing with registering for a Temu account, he was agreeing to the Terms. This form

               24      of agreement—where users agree to terms by creating or signing into accounts (called a “sign-in

               25      wrap” agreement)—is routinely enforced in the Ninth Circuit. Comparing Temu’s Registration

               26      Prompts to the prompt addressed in Oberstein and Keebaugh is instructive and dictates the

               27      outcome here.

               28                In Keebaugh, the court held that a sign-in wrap registration process, much like Temu’s
                                                                                    DEFENDANT’S NOTICE OF MOTION AND
ATTORNEYS AT LAW
  LOS ANGELES                                                             8            MOTION TO COMPEL ARBITRATION
                                                                                                 Case No. 3:24-cv-02890-SK
                       Case 3:24-cv-02890-SK          Document 17        Filed 07/15/24      Page 14 of 20


                   1   process, was “sufficiently conspicuous” and created a valid arbitration agreement between the

                   2   parties. Keebaugh, 100 F.4th at 1013. The Keebaugh court highlighted several factors: (a) the

                   3   hyperlink to the terms of service was “conspicuously displayed” in a “contrasting font color,” (b) a

                   4   notice stated that by tapping the button, the users agreed to the terms of service, (c) the screen was

                   5   uncluttered and used “customary design elements denoting the existence of a hyperlink,” and

                   6   (d) users expected that they would have an “ongoing relationship” with the company by registering

                   7   for an account. See id. at 1020–21. Relying on these factors, the Keebaugh court concluded that

                   8   the terms put a “reasonable user on notice that they are agreeing to be bound by the Terms of

                   9   Service.” Id.

               10             Temu’s Registration Prompts, as engaged with by Plaintiff, included (a) the Terms

               11      hyperlink displayed conspicuously in contrasting text, (b) notices stating, “By continuing, you

               12      agree to our Terms of Use” (Figure 1) and “By clicking Register, you agree to our Terms of Use”

               13      (Figure 2), (c) an uncluttered registration screen with a clearly demarked hyperlink, and (d) a

               14      registration process that suggested to Plaintiff he would have a continuing relationship with Temu.

               15             Comparing the registration prompt in Keebaugh with Temu’s Registration Prompts

               16      demonstrates that Temu’s Terms were even more conspicuous than the terms enforced by the

               17      Keebaugh court, as the Temu Registration Prompts were displayed on a less cluttered registration

               18      screen, and the hyperlink to the Terms was displayed in a contrasting color:

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                                                                                     DEFENDANT’S NOTICE OF MOTION AND
ATTORNEYS AT LAW
  LOS ANGELES                                                             9             MOTION TO COMPEL ARBITRATION
                                                                                                  Case No. 3:24-cv-02890-SK
                       Case 3:24-cv-02890-SK         Document 17        Filed 07/15/24      Page 15 of 20


                   1         Keebaugh Registration Prompt5                       Temu Registration Prompt6
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               15             Likewise, in Oberstein, the Ninth Circuit held that another registration screen substantially
               16      like Temu’s provided reasonable notice of the terms of use. Oberstein, 60 F.4th at 515–17. In that
               17      case, the Ninth Circuit considered that (a) the defendants’ terms of use were “conspicuously
               18      displayed directly above or below the action button,” (b) the defendants’ webpage informed the
               19      user that by clicking the confirmation button, “you agree to our Terms of Use,” (c) the terms of
               20      use were hyperlinked and distinguishable from the surrounding text, (d) users were required to
               21      register before transacting, “reflect[ing] the contemplation of some sort of continuing relationship
               22      that would have put users on notice for a link to the terms of that continuing relationship,” and (e)
               23      users had to manifest consent by clicking a button. Id.
               24             Temu’s website, as used by Plaintiff, included the very same features: (a) the Terms were
               25      conspicuously displayed below the “Continue” action button on the same screen, (b) Temu’s
               26      website and mobile application stated that “By continuing, you agree to our Terms of Use”
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                         Keebaugh, 100 F.4th at 1009–10.
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                         Temu’s Second Registration Prompt (Fig. 2).
                                                                                     DEFENDANT’S NOTICE OF MOTION AND
ATTORNEYS AT LAW
  LOS ANGELES                                                            10             MOTION TO COMPEL ARBITRATION
                                                                                                  Case No. 3:24-cv-02890-SK
                       Case 3:24-cv-02890-SK         Document 17         Filed 07/15/24     Page 16 of 20


                   1   (Figure 1) and “By clicking Register, you agree to our Terms of Use” (Figure 2), (c) the Terms

                   2   were hyperlinked and stood out from the surrounding text, (d) Plaintiff was required to register an

                   3   account before making the purchase at issue, and (e) Plaintiff manifested consent to the Terms by

                   4   clicking the “Continue” and “Register” buttons.

                   5          A review of the registration prompt included as an image in the Oberstein briefing (and

                   6   enforced by the court), with the Registration Prompts on Temu’s website, clearly demonstrates

                   7   that Temu’s Terms are enforceable:

                   8          Oberstein Registration Prompt7                      Temu Registration Prompt8
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               21             Further, both before and after the Ninth Circuit’s controlling decisions in Oberstein and
               22      Keebaugh, courts in this district routinely upheld arbitration agreements in similar circumstances.9
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               24        See Answering Brief for Defendants-Appellees at 6, Oberstein v. Live Nation Ent., Inc., No. 21-
                       56200 (9th Cir. Apr. 7, 2022), ECF No. 30.
               25      8
                         Temu’s Second Registration Prompt (Fig. 2).
                       9
               26        See, e.g., Coursera, 2024 WL 3091968, at *6–11 (holding that Coursera’s “2015 Sign-Up Screen
                       satisfies the visual requirements to provide conspicuous notice that a reasonably prudent internet
               27      user ‘would have seen’ the hyperlink and would have been able to locate the hyperlinked [terms
                       of service]” and that “Plaintiff unambiguously assented to Coursera’s terms of service as displayed
               28      in the 2015 Sign-Up Screen”); Laatz v. Zazzle, Inc., No. 22-CV-04844-BLF, 2024 WL 377970, at

                                                                                    DEFENDANT’S NOTICE OF MOTION AND
ATTORNEYS AT LAW
  LOS ANGELES                                                            11            MOTION TO COMPEL ARBITRATION
                                                                                                 Case No. 3:24-cv-02890-SK
                       Case 3:24-cv-02890-SK         Document 17        Filed 07/15/24      Page 17 of 20


                   1   This Court should do the same.

                   2          C.      The Court Must Stay This Case While Arbitration Proceeds

                   3          “When a district court finds that a lawsuit involves an arbitrable dispute, and a party

                   4   requests a stay pending arbitration, § 3 of the FAA compels the court to stay the proceeding.”

                   5   Smith, 144 S. Ct. at 1178; Herrera, 104 F.4th at 711 (same). Smith resolved what had been a split

                   6   in authority as to whether cases must be stayed during the pendency of a compelled arbitration or

                   7   may instead be dismissed. The Supreme Court has therefore interpreted the FAA as requiring cases

                   8   compelled to arbitration to be stayed rather than dismissed.

                   9          D.      The Court Must Delegate to the Arbitrator Any Disputes Over the Scope or

               10                     Enforceability of the Arbitration Agreement

               11             Having entered into a valid Arbitration Agreement with Temu, Plaintiff is bound to

               12      arbitrate his claims. Because Temu’s Terms clearly and unmistakably delegate questions about

               13      arbitrability to the arbitrator (Ex. A § 19.7), the Court need not conduct any further inquiry into

               14      the scope of the Arbitration Agreement. See Fli-Lo Falcon, 97 F.4th at 1194 (“When the parties

               15      have ‘clearly and unmistakably’ delegated questions regarding arbitrability to the arbitrator, the

               16      court need not conduct further inquiries beyond the existence of the arbitration agreement.”);

               17      Henry Schein, 586 U.S. at 69 (“Just as a court may not decide a merits question that the parties

               18      have delegated to an arbitrator, a court may not decide an arbitrability question that the parties

               19      have delegated to an arbitrator.”); PYNQ Logistics Servs., Inc. v. FedEx Ground Packaging Sys.,

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               21      *7 (N.D. Cal. Jan. 9, 2024) (upholding terms of conditions and stating “[c]ourts have routinely
                       found that [hyperlinks to the terms of service] constitute reasonably conspicuous notice of terms,
               22      and that clicking a button such as the ‘Create Account’ button is sufficient to manifest assent to
                       those terms”); Peter v. Doordash, Inc., 445 F. Supp. 3d 580, 582–87 (N.D. Cal. 2020) (finding
               23      valid agreement where terms of service were displayed in “plainly readable” text stating “[b]y
                       tapping Sign Up, Continue with Facebook, or Continue with Google, you agree to our Terms and
               24      Conditions and Privacy Statement” directly below a “Sign Up” button); Swift v. Zynga Game
                       Network, Inc., 805 F. Supp. 2d 904, 912 (N.D. Cal. 2011) (finding plaintiff assented to terms when
               25      she was provided with hyperlinked terms of service directly under an “I accept” button and did
                       click “Accept”); In re Tesla Advanced Driver Assistance Sys. Litig., No. 22-CV-05240-HSG, 2023
               26      WL 6391477, at *4–5 (N.D. Cal. Sept. 30, 2023) (upholding agreement where screen stated that
                       plaintiff could “Place Order” and, directly above that, in “conspicuous” font, displayed a statement
               27      that read: “[b]y placing this order, I agree to the . . . Order Agreement”); Moyer v. Chegg, Inc.,
                       No. 22-CV-09123-JSW, 2023 WL 4771181, at *1, *5 (N.D. Cal. July 25, 2023) (finding valid
               28      agreement where “conspicuous notice” under “Create account” button stated “[b]y clicking ‘Create
                       account’ you agree to the Terms of use and Privacy Policy”).
                                                                                      DEFENDANT’S NOTICE OF MOTION AND
ATTORNEYS AT LAW
  LOS ANGELES                                                           12               MOTION TO COMPEL ARBITRATION
                                                                                                   Case No. 3:24-cv-02890-SK
                       Case 3:24-cv-02890-SK          Document 17        Filed 07/15/24       Page 18 of 20


                   1   Inc., No. 23-CV-05881-SK, 2024 WL 2031622, *4 (N.D. Cal. May 6, 2024) (Kim, J.) (enforcing

                   2   clause delegating disputes concerning the validity and scope of the arbitration agreement to the

                   3   arbitrator). All challenges must be addressed by the arbitrator, and the Court should grant the

                   4   motion to compel arbitration to allow the arbitrator to resolve those challenges in the first instance.

                   5   See Mohamed, 848 F.3d at 1208-09; Brennan, 796 F.3d at 1132.

                   6          Regardless, Plaintiff’s claims fall squarely within the scope of the Arbitration Agreement,

                   7   which requires that “any dispute . . . arising out of or relating in any way to” Plaintiff’s “access to

                   8   or use of” Temu’s “applications, products, services, and websites,” “any products sold or

                   9   distributed through” Temu, or “the Terms[,]” to “be resolved by binding arbitration.” Ex. A § 19.1.

               10      This provision is “broad and inclusive” since it refers to “any dispute” that “aris[es] out of” or

               11      even “relat[es] in any way to” Plaintiff’s use of Temu. See Smith v. Vmware, Inc., No. 15-CV-

               12      03750-TEH, 2016 WL 54120, at *6 (N.D. Cal. Jan. 5, 2016); see also Roblox Corp. v. WowWee

               13      Grp. Ltd., No. 22-CV-04476-SI, 2023 WL 4108191, at *3 (N.D. Cal. June 20, 2023) (compelling

               14      arbitration where arbitration clause covered claims “arising out of or relating to” the “Services,”

               15      since “to require arbitration, a party’s factual allegations need only touch matters covered by the

               16      contract containing the arbitration clause”).

               17             Plaintiff’s claims stem from a purchase he made on Temu’s website, allegedly based on

               18      information contained on Temu’s website. See, e.g., Compl. ¶¶ 8–10. The claims thus “aris[e] out

               19      of” and “relat[e] . . . to” Plaintiff’s use of Temu. See Compl. ¶ 8; Ex. A § 19.1. Plaintiff’s claims

               20      must therefore be compelled to arbitration.

               21             E.      Plaintiff Is Not Entitled to Seek Class Relief

               22             Plaintiff’s claims on behalf of a putative nationwide class are not only facially defective,

               23      but they also are precluded by Plaintiff’s agreement to a class action waiver. Class action waivers

               24      like the one in Temu’s Terms are enforceable under both the FAA and California law. See, e.g.,

               25      Concepcion, 563 U.S. at 352 (holding such waivers enforceable under the FAA); Carter v. Rent-

               26      A-Center, Inc., 718 F. App’x 502, 504 (9th Cir. 2017) (“We have interpreted Concepcion as

               27      foreclosing any argument that a class action waiver, by itself, is unconscionable under state law or

               28      that an arbitration agreement is unconscionable solely because it contains a class action waiver.”).
                                                                                      DEFENDANT’S NOTICE OF MOTION AND
ATTORNEYS AT LAW
  LOS ANGELES                                                             13             MOTION TO COMPEL ARBITRATION
                                                                                                   Case No. 3:24-cv-02890-SK
                       Case 3:24-cv-02890-SK          Document 17        Filed 07/15/24       Page 19 of 20


                   1   Indeed, pursuant to the Terms, Temu would be entitled to an order striking Plaintiff’s class claims

                   2   even if the class action waiver were not part of an agreement to arbitrate. See Flores-Mendez v.

                   3   Zoosk, Inc., No. 20-CV-4929, 2022 WL 2967237 (N.D. Cal. July 27, 2022) (enforcing stand-alone

                   4   class action waiver and denying class certification on that basis).

                   5          Accordingly, the Court’s order compelling arbitration of Plaintiff’s claims should specify

                   6   that arbitration must proceed on an individual basis as dictated by the Terms.

                   7   IV.    CONCLUSION

                   8          For all these reasons, this Court should (i) compel Plaintiff to arbitrate his claims on an

                   9   individual basis, and (ii) stay the case pending resolution of Plaintiff’s claims in arbitration.

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                                                                                      DEFENDANT’S NOTICE OF MOTION AND
ATTORNEYS AT LAW
  LOS ANGELES                                                             14             MOTION TO COMPEL ARBITRATION
                                                                                                   Case No. 3:24-cv-02890-SK
                       Case 3:24-cv-02890-SK   Document 17   Filed 07/15/24     Page 20 of 20


                   1   DATED: July 15, 2024                       Respectfully submitted,

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                                                                         DEFENDANT’S NOTICE OF MOTION AND
ATTORNEYS AT LAW
  LOS ANGELES                                                15             MOTION TO COMPEL ARBITRATION
                                                                                      Case No. 3:24-cv-02890-SK
